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                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                         )
WESTERN STATES TRUCKING                  )
ASSOCIATION, INC., et al.,               )
                                         )
          Petitioners,                   )
                                         )
          v.                             )                 Case No. 23-1143, and
                                         )                 consolidated cases
U.S. ENVIRONMENTAL PROTECTION            )
AGENCY, et al.,                          )
                                         )
          Respondents.                   )
_________________________________________)

                  MOTION TO HOLD CASE IN ABEYANCE

      The United States, on behalf of Respondents United States Environmental

Protection Agency, and Michael S. Regan, Administrator (together, “EPA”),

hereby moves the Court to suspend the briefing schedule and place these cases in

abeyance, pending resolution of two cases before the Court that raise identical or

overlapping issues. Although the parties to this matter discussed the possibility of

such an abeyance before the briefing schedule was established in this case, it was

not apparent to EPA at that time how substantial the overlap between this case and

the two others pending before the Court would be. The opening briefs submitted

by Petitioners now show that the large majority of issues presented in this case are,
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in fact, already before the Court in Ohio v. EPA, Case No. 22-1081 (argued Sept.

15, 2023), and Texas v. EPA, Case No. 22-1031 (argued Sept. 14, 2023). As this

Court heard argument in both Ohio and Texas more than two months ago, and

resolution of those two cases could decide or substantially narrow the issues in this

case, the United States respectfully requests that the briefing schedule in this

matter be placed in abeyance until the Court issues its opinions in Ohio and Texas,

at which times the parties can submit motions to govern addressing further

briefing.

      Respondents contacted counsel for Petitioners and Respondent-Intervenors

regarding their positions on this motion. Counsel for Fuel Petitioners, State

Petitioners, and Petitioners Western States Trucking Association, Construction

Industry Air Quality Coalition, and Owner-Operator Independent Drivers

Association state that they oppose the motion. Counsel for State Respondent-

Intervenors and Public Interest Respondent-Intervenors state that they take no

position on this motion. Counsel for the United States did not receive positions

from counsel for Petitioners Illinois Soybean Association, et al. (No. 23-1145), and

the 200 for Homeownership, et al. (No. 23-1147).

      In support of this motion, the United States states as follows:

      1.     In October and December 2021, California sought a preemption

waiver under Section 209(b) of the Clean Air Act, 42 U.S.C. § 7543(b), to allow it


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to enforce state regulations that amend emission standards and associated test

procedures for heavy-duty diesel vehicles and engines (“HD Warranty

amendments”); require manufacturers to produce and sell increasing percentages of

the medium- and heavy-duty zero-emission vehicles and near zero-emission

vehicles in California (“Advanced Clean Trucks” regulation); set increasing zero-

emission airport shuttle fleet composition requirements (“Zero Emission Airport

Shuttle” regulation); and establish certain certification requirements for medium-

and heavy-duty zero-emission vehicles and their powertrains (“Zero Emission

Powertrain” regulation). See 88 Fed. Reg. 20688, 20688-89 (Apr. 6, 2023).

      2.     Section 209(b) requires EPA to grant such a preemption waiver for

vehicle emission standards in California where the State determines its State

standards will be “in the aggregate, at least as protective of public health and

welfare” as federal vehicle emissions standards. 42 U.S.C. § 7543(b)(1). EPA

may only reject a waiver where it finds (A) that the State’s protectiveness

determination is arbitrary and capricious, (B) the State “does not need such State

standards to meet compelling and extraordinary conditions,” or (C) the State

standards and accompanying enforcement procedures “are not consistent with

section 7521(a)” of the Act. Id. § 7543(b)(1)(A)-(C).

      3.     Here, EPA concluded that there was no basis to find California’s

waiver request failed any of the three criteria, and so granted a preemption waiver


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for the HD Warranty amendments, the Advanced Clean Trucks regulation, the

Zero Emission Airport Shuttle regulation, and the Zero Emission Powertrain

regulation. 88 Fed. Reg. at 20688-89.

      4.    EPA has granted preemption waivers for California’s vehicle emission

standards more than 75 times over the last 55 years, including in 2013, when it

waived preemption for California regulations that set standards for greenhouse gas

emissions from conventional passenger vehicles (known as light-duty vehicles) and

required an increasing percentage of sales of zero-emission passenger vehicles. 78

Fed. Reg. 2112 (Jan. 9, 2013).

      5.    EPA’s 2013 waiver decision for passenger vehicles was partially

reconsidered and withdrawn in 2019, 84 Fed. Reg. 51310 (Sept. 27, 2019), and

then reinstated in 2022. 87 Fed. Reg. 14332 (Mar. 14, 2022). Both the

withdrawal 1 and reinstatement of the 2013 waiver were challenged in this Court,

which heard oral argument on September 15th of this year on the challenges to

EPA’s 2022 waiver reinstatement decision. See ECF 2017130, Ohio v. EPA, D.C.

Cir. 22-1081 (docket notice of oral argument). The litigation over EPA’s 2022

waiver reinstatement, Ohio v. EPA, includes arguments from state parties asserting



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  Challenges to the 2019 withdrawal remain in abeyance pending the outcome of
the reinstatement litigation. See Union of Concerned Scientists v. NHTSA, D.C.
Cir. 19-1230.

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that Section 209(b)’s waiver provision is unconstitutional. Ohio State Br., ECF

1990758 at 16-33. It also includes arguments from fuel industry parties asserting

that Section 209(b) does not allow EPA to waive preemption for California vehicle

emission regulations that target climate change. Those arguments draw on

contentions about the proper statutory interpretation of the second waiver criterion

in Section 209(b)(1)(B), as well as the relevance of the major questions doctrine,

federalism canon, and constitutional avoidance canon. Ohio Fuel Br., ECF

1990958 at 17-54.

      6.     The day before the argument in Ohio v. EPA, on September 14th, this

Court also heard argument in Texas v. EPA. ECF 2016916, Texas v. EPA, D.C.

Cir. 22-1031 (docket notice of oral argument). That case concerns challenges to

EPA’s own promulgation of greenhouse gas vehicle emission standards for

passenger vehicles nationwide. There, petitioners are arguing that EPA’s standards

amounted to a zero-emission vehicle mandate, and that EPA lacks such authority

under Section 202, 42 U.S.C. § 7521, of the Clean Air Act. See Texas Fuel Br.,

ECF 1996915 at 21-61.

      7.     Since those oral arguments, on November 3rd, Petitioners in this case

filed their opening briefs. ECF 2025373 (State Br.) & 2025410 (Private Br.).

Respondent EPA’s opening brief responding to these arguments is presently due

January 30, 2024, with final form briefs due April 1, 2024. ECF 2017811.


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      8.     Upon review of Petitioners’ opening briefs in this case, however, EPA

believes abeyance of the remainder of the briefing schedule here, pending this

Court’s disposition of the Ohio and Texas cases, is appropriate to ensure judicial

efficiency and preserve the resources of the parties and the Court. The briefing

filed here addresses many of the same issues – and in some cases directly

replicates briefing – currently before the Court in Ohio and Texas. Specifically,

State Petitioners raise identical or nearly identical arguments in both this case and

the Ohio case that Clean Air Act Section 209 is unconstitutional because it violates

principles of equal sovereignty. Compare State Br. 17-28 with Ohio State Br.,

ECF 1990758 at 16-33. Private Petitioners raise identical or nearly identical

claims in both this case and the Ohio case concerning the interpretation of the

waiver criterion in Section 209(b)(1)(B), under which EPA must reject a waiver if

it finds California “does not need such State standards to meet compelling and

extraordinary conditions,” compare Private Br. 42-58 with Ohio Fuel Br., ECF

1990958 at 27-52; and concerning the applicability of the major questions doctrine

and the federalism and constitutional avoidance canons to that interpretation,

compare Private Br. 19-28, 39-42, & 58-59 with Ohio Fuel Br., ECF 1990958 at

19-26, 52-54. Private Petitioners’ remaining argument – that EPA misapplied the

third waiver criterion, Section 209(b)(1)(C), which bars waiver if California’s

standards are “not consistent” with provisions governing EPA vehicle standards –


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similarly relies on arguments made in the Texas case, where the parties are

challenging EPA’s own authority regarding electric vehicles and assert that its

federal greenhouse gas standards amounted to an impermissible electric vehicle

mandate. Compare Private Br. 28-37 with Texas Fuel Br., 1996915 at 21-61.

      9.     The large majority of briefing here indisputably implicates questions

that may be decided in the next few months by the Ohio and Texas panels. All

told, of approximately 63 total pages of argument between the two briefs, more

than 50 pages overlap, and in large part directly repeat, arguments this Court may

shortly be deciding. That is more than 80 percent of the substantive briefing here.

Only eleven pages of briefing – ten pages of State Petitioners’ opening brief

concerning lead-time requirements, State Br. 28-38, and barely more than a page of

Private Petitioners’ opening brief concerning consideration of costs, Private Br. 37-

39 – raise arguments that are not connected to those pending before the Court in

Ohio and Texas. And even there the forthcoming opinions may be dispositive, as

both the Ohio and Texas cases include disputes over standing and other threshold

issues that could bear on the challenges here.

      10.    The substantial overlap of these cases counsels for abeyance because

the outcomes in Ohio and Texas could decide or substantially narrow the issues

here. For example, if the Ohio Court were to conclude that Section 209(b) is

facially unconstitutional, as petitioners there and here have suggested, then EPA


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would lack authority to grant preemption waivers altogether, including the Heavy-

Duty Waiver challenged in this case. Such an outcome would presumably obviate

the need for briefing altogether. Rulings on other questions presented in Ohio and

Texas could likewise have a substantial effect on this case, for example by opining

on the proper interpretation of Section 209(b), which is a central issue in this case.

Even narrower rulings, as on the standing issues noted above, could have a

meaningful impact on the path of the litigation here.

      11.    Although the parties here cannot predict the precise timing of the

Ohio and Texas opinions, more than two months have passed since oral argument

in both cases (held back-to-back on September 14th and 15th) so opinions could be

forthcoming in these cases in a matter of weeks or months. Abating briefing here

until those decisions are rendered would allow the parties here to assess what

disputes remain between them at that point, if any, and ensure that further briefing

here is tailored to any specific issues that remain unresolved. Such an abeyance

would promote judicial efficiency and preserve the parties’ resources by avoiding

duplicative briefing of issues that may soon be decided – especially where briefs in

this case, if abeyance is not granted, may need to be refiled or supplemented in any

case following the opinions in Ohio and Texas.




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         12.   Moreover, because opinions in those cases should be forthcoming

within a matter of weeks or months, abeyance here would not unduly prejudice any

party.

         13.   While abeyance at this juncture may be less common than abeyance at

the outset of a case, it is still appropriate and warranted. At the outset of the case,

it was not clear how substantially the briefs here would diverge from the arguments

in Ohio and Texas. Examination of the briefs now filed shows that the overlap is

very substantial, and that the sole set of issues EPA anticipated would be distinct

from the Ohio case (concerning the application of the third waiver criterion in

Section 209(b)(1)(C)) implicates in part issues raised in the Texas case. As such,

abating further briefing until those earlier cases are decided would prevent needless

further duplication of effort between these parallel cases, and ensure that the

Court’s disposition of the challenges here can focus on those questions (if any) that

remain undecided after judgment in Ohio and Texas.

         14.   Granting abeyance in these circumstances would also be consistent

with this Court’s past practice, where the Court has stayed briefing schedules to

allow for disposition of related cases that might narrow the issues in a pending

matter. See, e.g., S. Coast Air Quality Mgmt. Dist. v. EPA, D.C. Cir. 16-1364, ECF

Nos. 1671503 (motion to hold remaining briefing in abeyance pending disposition

of a related case raising “substantially the same challenge”) & 1672697 (order


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granting abeyance); RFS Power Coal. v. EPA, D.C. Cir. 20-1046, ECF Nos.

1884292 (opposed motion to hold remaining briefing in abeyance pending

disposition of a Supreme Court case) & 1892343 (order granting abeyance); cf.

Ctr. for Biological Diversity v. EPA, D.C. Cir. 15-1462, ECF Nos. 1595137

(motion collecting cases on abeyance pending disposition of a related case) &

1595227 (order granting abeyance).

      WHEREFORE, the United States respectfully requests that this Court hold

these cases in abeyance pending the issuance of opinions in Ohio v. EPA, Case No.

22-1081, and Texas v. EPA, Case No. 22-1031, with motions to govern further

proceedings due within 30 days of the issuance of the opinion in the later-decided

of those two cases.

                                      Respectfully submitted,

                                      TODD KIM
                                      Assistant Attorney General

DATED: November 24, 2023              /s/ Chloe H. Kolman
                                      CHLOE H. KOLMAN
                                      ERIC G. HOSTETLER
                                      U.S. Department of Justice
                                      Environmental Defense Section
                                      P.O. Box 7611
                                      Washington, D.C. 20044
                                      (202) 514-9277
                                      chloe.kolman@usdoj.gov




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Motion to Hold Case in Abeyance

complies with the requirements of Fed. R. App. P. 32(a)(5) and (6) because it has

been prepared in 14-point Garamond, a proportionally spaced font.

      I further certify that the foregoing complies with the type-volume limitation

of Fed. R. App. P. 27(2)(A) because it contains approximately 2,062 words,

excluding exempted portions, according to the count of Microsoft Word.

                                             /s/ Chloe H. Kolman
                                             CHLOE H. KOLMAN




                         CERTIFICATE OF SERVICE

      I hereby certify that copies of the foregoing Motion to Hold Case in

Abeyance have been served through the Court’s CM/ECF system on all registered

counsel this 24th day of November, 2023.

                                             /s/ Chloe H. Kolman
                                             CHLOE H. KOLMAN




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